


	
	
	Judiciary  |  Opinions
	
	
	
	
    	



	

	
	

	
	
	
	
	
	
	


		
		
	























 





					
	
	
	 	




	Skip to Content
			
		
			
				
				
	Follow us on Twitter
	Follow us on Facebook
	Follow us on Youtube
			
			
			    
			      
			    
		        General Information 

	COVID-19 INFO
	General Information
	Contact Information
	Pay Traffic Fines Online
	eReminders for Court Dates
	Scam Alerts
	Job Opportunities
	Hawaii Courts Mobile App
	Jury Service
	Judiciary Overview
	Court Administration
	Business with Judiciary
	Sealing Court Records


News &amp; Reports 

	News &amp; Reports
	Press Releases
	Legislative Update
	Reports
	In the Media
	Oral Arguments
	Media Guidelines
	Speeches
	Judicial Financial Disclosure Statements


Self-Help 

	Self-Help
	Court Forms
	eReminders for Court Dates
	Pay Traffic Fines Online
	Collections Agency (MSB)
	Victim Services
	Request Court Records
	Traffic Cases
	Self-Help Centers
	Protective Orders
	Mortgage Foreclosure
	Sealing Court Records
	Small Claims
	Regular Claims
	Divorce
	Landlord-Tenant Claims
	Tips on Going to Court
	Hawaii State Law Library – COVID-19 Resources


Services 

	Services
	ADA
	Remote Court Hearings
	eReminders for Court Dates
	Court Interpreting
	Language Assistance
	Law Library
	Mediation/ADR
	Children’s Justice Centers
	Victim Services
	Volunteer Court Navigators at Maui District Court
	Volunteer Settlement Master Process
	Vehicle Tracker


Courts 

	Courts
	Supreme Court
	Intermediate Court of Appeals
	Circuit Court
	District Court
	Family Court
	Land and Tax Appeal Courts
	Administrative Adjudication
	Commission on Judicial Conduct
	Judicial Performance Reviews
	Judicial Selection Commission
	Judicial Financial Disclosure Statements


Legal References 

	Legal References
	Search Court Records
	Proposed Rule Changes
	Supreme Court Various Orders
	Opinions and Orders
	COVID-19 Orders
	Court Rules
	Internet Resources


Community Outreach 

	Community Outreach
	Courts in the Community
	Civic Education
	Volunteer Opportunities
	Judiciary History Center
	Divorce Law Seminar
	Court Tours


Special Projects &amp; Events 

	Special Projects &amp; Events
	Appellate Pro Bono Program
	Courts in the Community
	Criminal Pretrial Task Force
	DWI Court
	Environmental Court
	Girls Court
	Hawaii Courts Mobile App
	HOPE Probation
	Mental Health Court
	STAE (Steps to Avoid Eviction)
	Veterans Treatment Court


			
			
		        Home
For Public 

	COVID-19 INFO
	Contact Information
	eReminders for Court Dates
	Pay Traffic Fines Online
	Remote Court Hearings
	Document Drop-off (an online service)
	Court Forms
	Scam Alerts
	Bar Examination Results
	Divorce Law Seminar
	Oral Arguments Schedule
	Press Releases
	Volunteer
	Volunteer Court Navigators at Maui District Court
	Child Custody Evaluators Registry
	Judicial Performance Reviews
	Judicial Financial Disclosure Statements
	Feedback Form


For Litigants 

	Court Forms
	Document Drop-off (an online service)
	Pay Fines
	Search Court Records
	Remote Court Hearings
	Law Library
	Internet Legal Resources
	Attorney Information
	Billingual Attorneys
	Child Custody Evaluators Registry
	Feedback Form


For Attorneys 

	COVID-19 INFO
	General Information
	Civil JEFS Info Page
	Efiling
	Remote Court Hearings
	Bar Application
	Billingual Attorneys
	Oral Arguments
	Jury Instructions
	Membership Status
	Continuing Legal Education
	Hawaii Lawyers’ Fund
	Hawaii State Bar Association
	Office of Disciplinary Counsel
	Child Custody Evaluators Registry
	Feedback Form


For Jurors 

	Jury Service Information
	Court Information
	Contact Information
	Feedback Form


For Media 

	Media Guidelines
	Press Releases
	Search Court Records
	Contact Information
	Opinions and Orders
	Judicial Performance Reviews
	Judicial Financial Disclosure Statements
	Facilities Use Application


Language Access 

	Language Assistance Policy
	Language Access Services
	List of Interpreters
	Request a Court Interpreter
	Sign Language Interpreters
	Use a Court Interpreter
	Become a Court Interpreter
	Contact Information


ADA 

	ADA Accommodations
	Request an Accommodation
	Sign Language Interpreters
	Service Animals
	Contact Information


Access to Justice 

	Access to Justice Commission
	Access to Justice Initiatives
	Appellate Pro Bono Program
	Access to Justice Rooms
	Hawaii Self-Help Interactive Forms
	Hawaii Legal Services Portal
	Hawaii Online Pro Bono
	Small Claims Court Q&amp;A
	Volunteer Court Navigators at Maui District Court


Contact Us
			

		
    
    
		
					
			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 COVID-19 &amp; the COURTS: FOR UPDATES, CLICK HERE	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							January 28, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Manion (Amended Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 10/30/2020 [ada], 148 Haw. 334.&nbsp; Application for Writ of Certiorari, filed 12/22/2020.&nbsp; S.Ct. Order Rejecting Application for Writ of Certiorari, filed 01/28/2021.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 28, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Manion (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 10/30/2020 [ada], 148 Haw. 334.&nbsp; Application for Writ of Certiorari, filed 12/22/2020.&nbsp; S.Ct Amended Order Rejecting Application for Writ of Certiorari, filed 01/28/2021 [ada].

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 28, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Rand v. Rand (Order Approving Stipulation to Dismiss Cross-Appeal).

							Family Court, 2nd Circuit
							
						
												
							January 28, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re: The Estate of Yasuo Kawakami (Order Approving Stipulation for Dismissal of Appeal With Prejudice).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 3rd Circuit
							
						
												
							January 28, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Downs (s.d.o., affirmed).

							District Court, 2nd Cricuit, Wailuku Division
							
						
												
							January 27, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Adcock (Order Rejecting Application for Writ of Certiorari).&nbsp;ICA Opinion, filed 08/24/2020 [ada], 148 Haw. 308.&nbsp; Application for Writ of Certiorari, filed 11/27/2020.

							Circuit Court, 2nd Circuit
							
						
												
							January 27, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Flores v. Ballard.

							Circuit Court, 3rd Circuit
							
						
												
							January 27, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Adaniya (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							January 27, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Salvas (s.d.o., vacated and remanded).

							Circuit Court, 5th Circuit
							
						
												
							January 26, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Araiza v. State.&nbsp; ICA mem. op., filed 02/27/2020 [ada], 146 Haw. 209.&nbsp; Application for Writ of Certiorari, filed 06/24/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/29/2020 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							January 26, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Worden (s.d.o., affirmed).

							District Court, 3rd Circuit, Kona Division
							
						
												
							January 26, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							ML v. HL (s.d.o., vacated and remanded).

							Family Court, 1st Circuit
							
						
												
							January 26, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Purtzer (s.d.o., vacated and remanded).

							District Court, 1st Cricuit, Honolulu Division
							
						
												
							January 25, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Dickson (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Au v. The Association of Apartment Owners of the Royal Iolani (mem. op., vacated and remanded).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Sardinha (Order of Correction).&nbsp; ICA mem.op., filed 01/15/2021 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Barshinger (s.d.o., vacated and remanded).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 22, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							PO v. Child Support Enforcement Agency (s.d.o., affirmed).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Family Court, 3rd Circuit
							
						
												
							January 21, 2021
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Woo (Order of Suspension).

							Original Proceeding
							
						
												
							January 21, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							ATC Makena N Golf LLC v. Kaiama (Order Granting Motion to Dismiss Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 2nd Circuit
							
						
												
							January 21, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Marn v. Ashford (Order Denying Motion for Reconsideration).&nbsp; Petition for Writ of Mandamus, filed 12/14/2020.&nbsp; S.Ct. Order Denying Petition for Writ of Mandamus, filed 01/04/2021 [ada].&nbsp; Motion for Reconsideration, filed 01/14/2021.

							Original Proceeding
							
						
												
							January 20, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Gailliard v. Rawsthorne (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 05/29/2020 [ada], 146 Haw. 625.&nbsp; Application for Writ of of Certiorari, filed 11/30/2020.

							Circuit Court, 3rd Circuit
							
						
												
							January 20, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Protect and Preserve Kahoma Ahupua‘a Association v. Maui Planning Commission (Order Granting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed, 09/14/2020 [ada], 148 Haw. 275.&nbsp; Motion for Reconsideration, filed 09/24/2020.&nbsp; S.Ct. Order Denying Motion for Reconsideration, filed 10/02/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 12/14/2020.&nbsp;

							Circuit Court, 2nd Circuit
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Slavick v. State (Order Granting Motion for Reconsideration).&nbsp; ICA Order Dismissing Appeal, filed 10/29/2020 [ada].&nbsp; Motion for Reconsideration, filed 01/04/2021.

							Circuit Court, 1st Circuit
							
						
												
							January 19, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Porter v. The Queen’s Medical Center. &nbsp;ICA Opinion, filed 02/21/2020 [ada], 146 Haw. 559.&nbsp; Motion for Reconsideration, filed 02/27/2020.&nbsp; ICA Order Denying Motion for Reconsideration, filed 03/04/2020.&nbsp; Amended Order Denying Motion for Reconsideration, filed 03/10/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 03/11/2020.&nbsp;&nbsp; S.Ct. Order Dismissing Application for Writ of Certiorari, filed 03/19/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 04/13/2020.&nbsp; S.Ct Order Accepting Application for Writ of Certiorari, filed 05/20/2020 [ada].&nbsp;&nbsp;

							Labor and Industrial Relations Appeals Board
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Zhang v. Administrative Director of the Courts of the State of Hawai‘i (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							HM v. BM (s.d.o., affirmed).

							Family Court, 1st Circuit
							
						
												
							January 19, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							SG v. BA (s.d.o., vacated and remanded).

							Family Court, 1st Circuit
							
						
												
							January 15, 2021
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							Office of Disciplinary Counsel v. Hubbard (Order of Reciprocal Suspension).

							Original Proceeding
							
						
												
							January 15, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Sardinha (mem.op., vacated and remanded).&nbsp; ICA Order of Correction, filed 01/22/2021 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 14, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Hu Honua Bioenergy, LLC v. Griffin (Order Denying Petition for Extraordinary Writ and/or for Writ of Mandamus).

							Original Proceeding
							
						
												
							January 14, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Wilmington Savings Fund Society v. Ryan.&nbsp; ICA mem.op., filed, 04/09/2020 [ada], 146 Haw. 237. Consolidated with CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.&nbsp; Application for Writ of Certiorari, filed 07/06/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/02/2020 [ada].

							Circuit Court, 5th Circuit
							
						
												
							January 12, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Watanabe v. Employees’ Retirement System (Order of Correction).&nbsp; ICA s.d.o., filed 07/26/2019 [ada], 144 Haw. 564.&nbsp; Application for Writ of Certiorari, filed 10/17/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 12/11/2019 [ada].&nbsp; S.Ct. Opinion, filed 01/08/2021 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							January 12, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Suzuki v. Mowry (Order Denying Motion for Reconsideration).&nbsp; ICA s.d.o., filed 12/29/2020 [ada]. Motion for Reconsideration, filed 01/06/2021.&nbsp; Application for Writ of Certiorari, filed 01/25/2021.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							January 11, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Willis v. Souza (Order Denying Petition for Writ of Habeas Corpus and/or Mandamus).&nbsp; Petition for Writ of Habeas Corpus and/or Mandamus, filed 12/21/2020.

							Original Proceeding
							
						
												
							January 8, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company, Inc.&nbsp; (Amended Opinion).&nbsp; ICA Order Dismissing the Appeal and All Pending Motions are Dismissed, filed 03/14/2017 [ada].&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/17/2017.&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/20/2017.&nbsp; ICA s.d.o., filed 04/01/2020 [ada], 146 Haw. 234.&nbsp; ICA Order Granting the March 20, 2017 Motion for Reconsideration, filed 04/03/2017 [ada].&nbsp; Motion for Reconsideration, filed 04/13/2020.&nbsp; Motion for Reconsideration, filed 04/14/2020.&nbsp; ICA Order Denying the April 13, 2020 Motion for Reconsideration and Dismissing the April 14, 2020 Motion for Reconsideration, filed 04/21/2020 [ada].&nbsp; Motion for Reconsideration, filed 04/21/2020.&nbsp; ICA s.d.o., filed 04/29/2020 [ada], 146 Haw. 241. &nbsp;ICA Order Denying the April 21, 2020 Motion for Reconsideration, filed 05/01/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/01/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/14/2020 [ada].&nbsp;&nbsp; Application for Writ of Certiorari, filed 07/28/2020.&nbsp; Application for Writ of Certiorari, filed 07/29/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/09/2020 [ada].&nbsp; S.Ct. Opinion, filed 12/24/2020.&nbsp; Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.&nbsp; Motion for Reconsideration, filed 01/04/2021.&nbsp; S.Ct. Order Granting Motion for Reconsideration of the Opinion Filed December 24, 2020, filed 01/08/2021 [ada].

							Labor and Industrial Relations Appeals Board
							
						
												
							January 8, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company, Inc.&nbsp; (Order Granting Motion for Reconsideration of the Opinion Filed December 24, 2020).&nbsp; ICA Order Dismissing the Appeal and All Pending Motions are Dismissed, filed 03/14/2017 [ada].&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/17/2017.&nbsp; Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/20/2017.&nbsp; ICA s.d.o., filed 04/01/2020 [ada], 146 Haw. 234.&nbsp; ICA Order Granting the March 20, 2017 Motion for Reconsideration, filed 04/03/2017 [ada].&nbsp; Motion for Reconsideration, filed 04/13/2020.&nbsp; Motion for Reconsideration, filed 04/14/2020.&nbsp; ICA Order Denying the April 13, 2020 Motion for Reconsideration and Dismissing the April 14, 2020 Motion for Reconsideration, filed 04/21/2020 [ada].&nbsp; Motion for Reconsideration, filed 04/21/2020.&nbsp; ICA s.d.o., filed 04/29/2020 [ada], 146 Haw. 241. &nbsp;ICA Order Denying the April 21, 2020 Motion for Reconsideration, filed 05/01/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/01/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/14/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 07/28/2020.&nbsp; Application for Writ of Certiorari, filed 07/29/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/09/2020 [ada].&nbsp; S.Ct. Opinion, filed 12/24/2020.&nbsp; Consolidated with Case Nos. CAAP-XX-XXXXXXX and CAAP-XX-XXXXXXX.&nbsp; Motion for Reconsideration, filed 01/04/2021.&nbsp; S.Ct. Amended Opinion, filed 01/08/2021 [ada].

							Labor and Industrial Relations Appeals Board
							
						
												
							January 8, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Watanabe v. Employees’ Retirement System.&nbsp; ICA s.d.o., filed 07/26/2019 [ada], 144 Haw. 564.&nbsp; Application for Writ of Certiorari, filed 10/17/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 12/11/2019 [ada].&nbsp; S.Ct. Order of Correction, filed 01/12/2021 [ada].

							Circuit Court, 3rd Circuit
							
						
												
							January 7, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re: Slavick (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 12/28/2020.

							Original Proceeding
							
						
												
							January 7, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Ching v. Dung (Order Denying Defendants/Appellees/Cross-Appellants’ Motion for Reconsideration of the Opinion Filed December 21, 2020).&nbsp; ICA Opinion, filed 08/15/2019 [ada], 145 Haw. 99.&nbsp; Application for Writ of Certiorari, filed 10/11/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 12/04/2019 [ada].&nbsp; S.Ct. Opinion, filed 12/21/2020 [ada].&nbsp; Concurrence by Circuit Judge Crabtree.&nbsp; Motion for Reconsideration, filed 12/30/2020.

							Circuit Court, 1st Circuit
							
						
												
							January 7, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Mironer v. Steele (s.d.o., affirmed).

							District Court, 5th Circuit
							
						
												
							January 6, 2021
							ICA
							CAAP-XX-XXXXXXX [ADA]
							IES Residential, Inc. v. Director, Department of Labor and Industrial Relations (mem. op., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							January 5, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Stanley v. State.&nbsp; ICA s.d.o., filed 08/22/2019 [ada], 145 Haw. 139.&nbsp; Petitioner’s Application for Writ of Certiorari, filed 12/02/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 01/16/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 5, 2021
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Jaentsch (Order Dismissing Certiorari Proceeding).&nbsp; ICA s.d.o., filed 12/31/2019 [ada], 146 Haw. 32.&nbsp; Application for Writ of Certiorari, filed 04/01/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 05/11/2020 [ada].

							Family Court, 1st Circuit
							
						
												
							January 4, 2021
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Marn v. Ashford (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 12/14/2020.&nbsp; Motion for Reconsideration, filed 01/14/2021.&nbsp; S.Ct Order Denying Motion for Reconsideration, filed 01/21/2021 [ada].

							Original Proceeding
							
						
											
				
			
			
		
		
				 

		 

			
			
		
			
				
					Site Search
					
				    	
				   		
				    	
				    	
				    	
				    
			    
			
		
		
		
			
			
			    
					eCourt Kokua*
					For access to traffic cases; District Court, Circuit Court, and Family Court criminal; District Court and Circuit Court civil; Land Court and Tax Appeal Court; and appellate case information
				
			    
			    	Hoʻohiki
				  	For access to Family Court civil case information
				
			    
			    	Jobs
			    	Search for jobs at the Judiciary
				
			    
			    	Efiling
			    	Case information
				
			    
			    	Document Drop Off
			    	Electronic Document Submission
				
			
		
		Placeholder
			
				
			Language Services
			
			    Language Access Services Home
				廣東話 / 广东话 | Cantonese
				Kapasen Chuuk | Chuukese
				Ilokano | Ilokano
				日本語 | Japanese
				한국어 | Korean
				Kosrae | Kosraean
				國語 / 普通话 | Mandarin
				Kajin Majôl | Marshallese
				Pohnpei | Pohnpeian
				Gagana Samoa | Samoan
				Español | Spanish
				Tagalog | Tagalog
				Lea faka-Tonga | Tongan
				Tiếng Việt | Vietnamese
			
		
	 
		
	
					


    		
         
        
            
                for Public
Oral Arguments Schedule
Contact Information
Pay Fines
Court Forms
Scam Alerts
Bar Examination Results
Divorce Law Seminar
Press Releases
Volunteer
Volunteer Court Navigators at Maui District Court
Child Custody Evaluators Registry
Judicial Performance Reviews
Judicial Financial Disclosure Statements
Feedback Form
for Litigants
Pay Fines
Court Forms
Remote Court Hearings
Document Drop-off (an online service)
Search Court Records
Law Library
Internet Legal Resources
Attorney Information
Bilingual Attorneys
Child Custody Evaluators Registry
Feedback Form
for Attorneys
General Information
Efiling
Civil JEFS Info
Billingual Attorneys
Remote Court Hearings
Bar Application
Oral Arguments
Jury Instructions
Membership Status
Continuing Legal Education
Hawaii Lawyers’ Fund
Hawaii State Bar Association
Office of Disciplinary Counsel
Child Custody Evaluators Registry
Feedback Form
for Jurors
Jury Service Information
Court Information
Contact Information
Feedback Form
Language Access
Language Assistance Policy
Language Access Services
List of Interpreters
Request a Court Interpreter
Sign Language Interpreters
Use a Court Interpreter
Become a Court Interpreter
Contact Information
for Media
Media Guidelines
Press Releases
Search Court Records
Contact Information
Opinions and Orders
Judicial Performance Reviews
Judicial Financial Disclosure Statements
ADA Assistance
ADA Accommodations
Request an Accommodation
Sign Language Interpreters
Service Animals
Contact Information
Access to Justice
Access to Justice Commission
Access to Justice Initiatives
Access to Justice Rooms
Hawaii Self-Help Interactive Forms
Hawaii Legal Services Portal
Hawaii Online Pro Bono
Judiciary’s 20/20 Vision
Small Claims Court Q&amp;A
Volunteer Court Navigators at Maui District Court
General Information
General Information
Contact Information
Pay Traffic Fines Online
Scam Alerts
Job Opportunities
Jury Service
Judiciary Overview
Court Administration
Business with Judiciary
Sealing Court Records
News &amp; Reports
Press Releases
Legislative Update
Reports
In the Media
Oral Arguments
Media Guidelines
Speeches
Judicial Financial Disclosure Statements
Self-Help
Court Forms
Document Drop-off (an online service)
Pay Traffic Fines Online
Traffic Cases
Request Court Records – Oahu
Collection Agency (MSB)
Self-Help Centers
Victim Services
Protective Orders
Mortgage Foreclosure
Sealing Court Records
Small Claims
Regular Claims
Divorce
Landlord-Tenant Claims
Tips on Going to Court
Hawaii State Law Library – COVID-19 Resources
Services
ADA
Court Interpreting
Language Assistance
Law Library
Mediation/ADR
Children’s Justice Centers
Remote Court Hearings
Victim Services
Volunteer Court Navigators at Maui District Court
Volunteer Settlement Master Process
Vehicle Tracker
Courts
Supreme Court
Intermediate Court of Appeals
Circuit Court
District Court
Family Court
Land and Tax Appeal Courts
Administrative Adjudication
Commission on Judicial Conduct
Judicial Performance Reviews
Judicial Selection Commission
Judicial Financial Disclosure Statements
Legal References
Search Court Records
Proposed Rules Changes
Supreme Court Various Orders
Opinions and Orders
COVID-19 Orders
Court Rules
Internet Resources
Community Outreach
Courts in the Community
Civics Education
Volunteer Opportunities
Judiciary History Center
Divorce Law Seminar
Court Tours
Special Projects &amp; Events
Appellate Pro Bono Program
Courts in the Community
Criminal Pretrial Task Force
DWI Court
Environmental Court
Girls Court
Hawaii Courts Mobile App
HOPE Probation
Mental Health Court
STAE (Steps to Avoid Eviction
Veterans Treatment Court
Contact Us
Administrative Offices of the Courts
Courts of Appeal
Oahu – First Circuit
Maui – Second Circuit
Hawaii – Third Circuit
Kauai – Fifth Circuit
District Court Addresses
We Value Your Opinion Survey
             
            

                
                
	Follow us on Twitter
	Follow us on Facebook
	Follow us on Youtube
    	           © 2021 Hawaii State Judiciary. All rights reserved.
    	           Privacy Policy&nbsp; | &nbsp;Terms of Use &nbsp;|&nbsp; Accessibility Information&nbsp;
                   *The Hawaii Judiciary is not affiliated with Sustain Technologies, Inc. or with eCourt, which is a registered trademark of Sustain Technologies, Inc
                   Powered by NIC Hawaii
                            
                   
        
    
    















	  
     
    
